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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20652-13
 vs.
                                            HON. GEORGE CARAM STEEH
 D-13 ARLANDIS SHY,

               Defendant.
 _____________________________/

                OPINION AND ORDER DENYING MOTION
           IN LIMINE TO PRECLUDE CO-DEFENDANT COREY
       BAILEY’S VIDEO RECORDED STATEMENTS [ECF NO. 1063]

       This matter is before the court on the motion in limine brought by

 defendant Arlandis Shy to preclude the government from offering co-

 defendant Corey Bailey’s video recorded statements. The motion is joined

 in by defendant Keithon Porter [ECF No. 1066], defendant Eugene Fisher

 [ECF No. 1067], and defendants Robert Brown and Devon Patterson who

 asserted their joinder on the record. The court heard oral argument on the

 motion on June 18, 2018. For the reasons stated on the record, as well as

 those contained in this opinion and order, defendant’s motion that Bailey’s

 video recorded statements be suppressed is DENIED.




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       The statements made by Corey Bailey to law enforcement are only

 being offered by the government against the declarant, Bailey, and not

 against any of his complaining co-defendants. Therefore, the statements

 are admissible under Fed. R. Evid. 801(d)(2)(A) as non-hearsay because

 they are statements offered against a party and they are the party’s own

 statements. United States v. Vasilakos, 508 F.3d 401, 407 (6th Cir. 2007).

 Where such statements are not being offered as evidence against the

 complaining co-defendants, there is no violation of their Confrontation

 Clause rights. Crawford v. Washington, 541 U.S. 36, 50 (2004).

       The Sixth Circuit has held that even if the declarant co-defendant

 admits to being part of a group, or the statements help prove a conspiracy,

 there is no violation of the complaining co-defendants’ rights under the

 Confrontation Clause where the statements are introduced only against the

 declarant co-defendant. See United States v. Norwood, 50 F.Supp.3d 810,

 816-17 (E.D. Mich. 2014). The government acknowledges that the court

 should, as a matter of precaution, issue a limiting instruction to the jury as

 to Bailey’s statements.

       There are cases where a limiting instruction is not sufficient. In

 Bruton v. United States, 391 U.S. 123 (1968), the Supreme Court held that,

 while limiting instructions are often the solution to an evidentiary issue,


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 “there are some contexts in which the risk that the jury will not, or cannot,

 follow instructions is so great, and the consequences of failure so vital to

 the defendant, that the practical and human limitation of the jury system

 cannot be ignored.” Id. at 135. The Supreme Court was referring to the

 admission at a joint trial of a non-testifying accomplice’s confession that

 also implicated the co-defendant, and held that admitting such evidence

 violates the non-declarant co-defendant’s right of confrontation. Courts

 have since approved solutions, such as redacting a co-defendant’s name

 and replacing it with a nonspecific pronoun. Richardson v. Marsh, 481 U.S.

 200, 203 (1987); Gray v. Maryland, 523 U.S. 185, 188 (1998); Vasilakos,

 508 F.3d at 408.

       In this case, the statements identified by the government to be

 offered at trial do not refer to any of the other co-defendants on trial by

 name, by nickname, or by any identifier at all. The only co-defendant that

 Bailey refers to specifically is Billy Arnold, who he refers to by nickname,

 and who is not in this trial group. Because no other co-defendant’s name is

 mentioned by Bailey, no Bruton problem exists with regard to the video

 recorded statements.

       For these reasons, as well as the additional reasons given by the

 court on the record, defendant’s motion to preclude co-defendant Corey


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 Bailey’s video recorded statements is DENIED. Defendant’s alternative

 request that Bailey be severed from the trial is also DENIED as

 unwarranted. The court will give a limiting instruction to the jury when the

 video statements are admitted into evidence at trial, as well as at the

 conclusion of trial.

 Dated: June 19, 2018
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE


                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                        June 19, 2018, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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